                                                                                             Case 2:21-cv-01516-DLR Document 28 Filed 04/15/22 Page 1 of 3




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                                                                                   13 Attorneys for PHH Mortgage Corporation

                                                                                   14                            UNITED STATES DISTRICT COURT
                                                                                   15                                      DISTRICT OF ARIZONA
                                                                                   16     PHH MORTGAGE CORPORATION,                      Case No. 2:21 CV 01516
                                                                                   17
                                                                                                              Plaintiff,                STIPULATION TO EXTEND TIME
                                                                                   18                                                   FOR FILING OF PLAINTIFF’S
                                                                                                vs.                                     RESPONSE TO DEFENDANT’S
                                                                                   19                                                   MOTION FOR PARTIAL SUMMARY
                                                                                   20     ARCH U.S. MI SERVICE, INC.,                   JUDGMENT; AND PROPOSED
                                                                                                                                        ORDER
                                                                                   21                         Defendant.
                                                                                   22
                                                                                              Pursuant to LRCiv. 6.1 and 7.3, Plaintiff PHH Mortgage Corporation (“PHH”), by and
                                                                                   23
                                                                                        through its counsel undersigned, and Defendant Arch U.S. MI Services, Inc. (“Arch”), by and
                                                                                   24
                                                                                        through its counsel undersigned, and hereby request that the Court extend the deadline for
                                                                                   25
                                                                                        PHH to file its response to Arch’s Motion for Partial Summary Judgment re Collateral
                                                                                   26

                                                                                   27                                                  -1-
                                                                                   28    STIPULATION TO EXTEND TIME FOR FILING OF PLAINTIFF’S RESPONSE
                                                                                          TO DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT; AND
                                                                                                               PROPOSED ORDER
                                                                                            Case 2:21-cv-01516-DLR Document 28 Filed 04/15/22 Page 2 of 3




                                                                                    1 Estoppel (the “Collateral Estoppel Motion”) by two weeks from April 25, 2022 to May 9,

                                                                                    2 2022. This Joint Motion is based on the following:

                                                                                    3        1.     This lawsuit involves 2,733 individual mortgage loans, each one of which was
                                                                                    4 covered by a policy of mortgage insurance issued by PMI Mortgage Insurance Company

                                                                                    5 (“PMI”). PHH (or its predecessor) submitted claims under each of those insurance policies,

                                                                                    6 which PMI then either denied or curtailed (paid a reduced amount).

                                                                                    7        2.     On March 24, 2022, Arch filed its Collateral Estoppel Motion.
                                                                                    8        3.     Due to scheduling conflicts, including work travel and planned vacation, PHH
                                                                                    9 requires an additional two weeks to file its Response to the Collateral Estoppel Motion.

                                                                                   10        4.     This is PHH’s first request for an extension of time to respond to the Collateral
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                                                                                   11 Estoppel Motion.

                                                                                   12        5.     Arch does not oppose PHH’s request for a two week extension to file its
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                                                                                   13 Response to the Collateral Estoppel Motion.

                                                                                   14        Based on the foregoing, the parties request that the Court enter an Order extending the
                                                                                   15 deadlines for PHH to file its Response to the Collateral Estoppel Motion from April 25, 2022

                                                                                   16 to May 9, 2022. A proposed form of Order is being lodged with the Court.

                                                                                   17         DATED this 14 day of April, 2022.
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                                                                                                                         REED SMITH LLP
                                                                                   19
                                                                                                                         By:      /s/ David M. Halbreich
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                                                                                   26
                                                                                                                         Attorneys for Plaintiff PHH Mortgage Corporation
                                                                                   27                                            --2--
                                                                                   28   STIPULATION TO EXTEND TIME FOR FILING OF PLAINTIFF’S RESPONSE
                                                                                         TO DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT; AND
                                                                                                              PROPOSED ORDER
                                                                                          Case 2:21-cv-01516-DLR Document 28 Filed 04/15/22 Page 3 of 3




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                                                                                                                  Attorneys for Defendant Arch U.S. MI Service, Inc.
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REED SMITH LLP




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                                                                                   28   STIPULATION TO EXTEND TIME FOR FILING OF PLAINTIFF’S RESPONSE
                                                                                         TO DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT; AND
                                                                                                              PROPOSED ORDER
